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 9              THE UNITED STATES DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
11   TRACY BACON, individually and       )   Case No.:
     on behalf of all those similarly    )
12   situated,                           )   CLASS ACTION
13                                       )
                        Plaintiff,       )   COMPLAINT FOR DAMAGES
14           vs.                         )
15                                       ) 1. Violations of the Telephone
     JARED FORBUSH, an individual;       )    Consumer Protection Act, 47 U.S.C.
16   and DOES 1-10, inclusive,           )    §§ 227, et seq. (Do Not Call);
17                                       ) 2. Violations of the Telephone
                       Defendant.        )    Consumer Protection Act, 47 U.S.C.
18                                            §§ 227, et seq. (Cell Phone); and
19                                       ) 3. Violations of the Telephone
                                         )    Consumer Protection Act, 47 C.F.R.
20                                       )    § 64.1200(d) (Do Not Call).
21                                       )
                                         ) DEMAND FOR JURY TRIAL
22
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28
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 1          Plaintiff Tracy Bacon (“Plaintiff”), individually and on behalf of all others
 2   similarly situated, alleges the following upon information and belief based upon
 3   personal knowledge:
 4   I.     NATURE OF THE ACTION
 5          1.       Plaintiff, on behalf of herself and others similarly situated, is seeking
 6   damages and any other available legal or equitable remedies resulting from the
 7   illegal actions of Defendant Jared Forbush (“Defendant” or “Forbush”) and Does
 8   1-10, inclusive, in contacting Plaintiff, as well as knowingly, and/or willfully
 9   contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
10   Consumer Protection Act (“TCPA”), 47 U.S.C. §§ 227, et seq., thereby invading
11   Plaintiff’s and putative class members’ right to privacy.
12    II.   VENUE AND JURISDICTION
13          2.       This Court has jurisdiction over the subject matter of this action
14   under 28 U.S.C. § 1331 because this action arises under the TCPA, 47 U.SC. §§
15   227, et seq.
16          3.       Jurisdiction is also proper under 28 U.S.C. § 1332(d) because
17   Plaintiff seeks relief on behalf of a nationwide class, which will result in at least
18   one class member belonging to a different state that that of Forbush, which
19   maintained its principal place of business in Utah. Plaintiff also seeks up to
20   $1,500.00 in damages for each text message in violation of the TCPA, which,
21   when aggregated among a proposed class in the thousands, exceeds the
22   $5,000,000.00 threshold for federal court jurisdiction. Therefore, both federal
23   question jurisdiction and diversity jurisdiction and the damages threshold under
24   the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
25   jurisdiction.
26   ///
27   ///
28   ///
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 1          4.     Venue is proper in this District because all or a substantial portion of
 2   the events forming the basis of this action occurred in this District pursuant to 28
 3   U.S.C. § 1397(b)(2) as Defendant specifically targeted Los Angeles County,
 4   California consumers such as Plaintiff, by sending unsolicited text messages to
 5   consumers residing in this District.
 6   III.   PARTIES
 7          5.     Plaintiff is a natural person residing in California.
 8          6.     Forbush is, and at all relevant times was, the Chief Executive and
 9   Registered Agent of 4Bush Holdings, LLC, which was a Utah Limited Liability
10   Company with its principal place of business at 318 West 250 South Kaysville,
11   Utah 84037. Forbush is available for service of process at his residence located at
12   318 West 250, South Kaysville, Utah 84037.
13          7.     Upon information and belief, Defendant conducted marketing
14   activities, including sending text messages, such as the messages sent to Plaintiff
15   in violation of the TCPA.
16          8.     The true names and capacities of the defendants sued herein as
17   “Does 1-10,” inclusive, are currently unknown to Plaintiff, who therefore sues
18   such Defendants by fictitious names. Each of the Defendants designated herein as
19   a Doe is legally responsible for the unlawful acts alleged herein. Plaintiff will
20   seek leave of Court to amend the Complaint to reflect the true names and
21   capacities of the Doe Defendants when such identities become known.
22          9.     Upon information and belief, at all relevant times, Forbush was
23   acting as an agent of First Class Herbalist and was the owner, agent, ostensible
24   agent, servant, joint venturer and employee, each of the other and each was acting
25   within the course and scope of its ownership, agency, service, joint venture, and
26   employment with the full knowledge and consent of each of the other
27   Defendants.
28   ///
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 1         10.     Upon information and belief, each of the acts and/or omissions
 2   complained of herein was made known to, and ratified by, each of the other
 3   Defendants.
 4         11.     At all times mentioned herein, each and every Defendant was the
 5   successor of the other and each assumes the responsibility for each other’s acts
 6   and omissions.
 7   IV.   THE TELEPHONE CONSUMER PROTECTION ACT
 8         12.     Congress enacted the TCPA in 1991 to address certain practices
 9   thought to be an invasion of consumer privacy and a risk to public safety. The
10   TCPA and the Federal Communications Commission’s (“FCC”) implemented
11   rules prohibit: (1) making telemarketing calls using an artificial or prerecorded
12   voice to residential telephones without prior express consent; and (2) making any
13   non-emergency call using an automatic telephone dialing system (“ATDS”) or an
14   artificial or prerecorded voice to a wireless telephone number without prior
15   express consent. If the call includes or introduces an advertisement, or constitutes
16   telemarketing, consent must be in writing. Calls that include non-marketing
17   messages require consent, but not written consent. The TCPA grants consumers a
18   private right of action, with a provision for $500 or the actual monetary loss in
19   damages for each violation, whichever is greater, and treble damages for each
20   willful or knowing violation, as well as injunctive relief.
21         13.     Since the TCPA’s passage in 1991, the FCC has taken multiple
22   actions implementing and interpreting the TCPA, and has issued numerous
23   Declaratory Rulings clarifying specific aspects of the TCPA. The most recent,
24   FCC Omnibus Order of July 10, 2015, (the “Order”) provided further protection
25   to consumers by, among other things, clarifying that ATDS is broadly defined,
26   confirming liability attaches to calls made to the wrong number or reassigned
27   number, and clarifying consumers may revoke consent through reasonable
28   methods. In the Matter of Rules and Regulations Implementing the Tel.
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 1   Consumer Prot. Act of 1991, FCC 15–72, 30 F.C.C.R. 7961, (July 10, 2015),
 2   available at https://www.fcc.gov/document/tcpa-omnibus-declaratory-ruling-and-
 3   order. The Order defines an “autodialer” as equipment/software that has the future
 4   capacity to dial randomly or sequentially. “In other words, the capacity of an
 5   autodialer is not limited to its current configuration but also includes its potential
 6   functionalities.” The Order clarifies the meaning of “capacity” and that “any call”
 7   made using a device with the capacity to serve as an ATDS requires consent
 8   under the TCPA, even if the caller is not “actually…using those functionalities to
 9   place calls” at the time. Derby v. AOL, Inc., No. 5:15-CV-00452-RMW, 2015 WL
10   5316403, at *3 (N.D. Cal. Sept. 11, 2015).
11          14.     The Order also states that calls placed to the wrong number or a
12   reassigned number are made with knowledge of the error after the first call; and
13   consumers may revoke consent through any reasonable method, including orally:
14   “[w]e clarify, however, that callers who make calls without knowledge of
15   reassignment and with a reasonable basis to believe that they have valid consent
16   to make the call should be able to initiate one call after reassignment as an
17   additional opportunity to gain actual or constructive knowledge of the
18   reassignment and cease future calls to the new subscriber. If this one additional
19   call does not yield actual knowledge of reassignment, we deem the caller to have
20   constructive knowledge of such;” “[c]onsumers generally may revoke, for
21   example, by way of a consumer-initiated call, directly in response to a call
22   initiated or made by a caller, or at an in-store bill payment location, among other
23   possibilities.”
24          15.     Furthermore, the TCPA established the National Do-Not-Call List,
25   and also mandates all businesses that place calls for marketing purposes maintain
26   an “internal” do-not-call list (“IDNC”). See 47 C.F.R. § 64.1200(d). The IDNC is
27   “a list of persons who request not to receive telemarketing calls made by or on
28   behalf of that [seller].” Id. The TCPA prohibits a company from calling
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 1   individuals on its IDNC list or on the IDNC list of a seller on whose behalf the
 2   telemarketer calls, even if those individuals’ phone numbers are not on the
 3   National Do-Not-Call Registry. Id. at § 64.1200(d)(3), (6). Any company, or
 4   someone on the company’s behalf, who calls a member of the company’s IDNC is
 5   liable to that person under the TCPA. The called party is then entitled to bring a
 6   private action under the TCPA for monetary and injunctive relief.
 7         16.     Accordingly, the entity can be liable under the TCPA for a call made
 8   and/or message sent on its behalf, even if the entity did not directly place the call.
 9   Under those circumstances, the entity is deemed to have initiated the call through
10   the person or entity.
11         17.     There are just a handful of elements need to be proven for violations
12   of the Do Not Call provision of the TCPA.
13         18.     More Than One Call within Any 12-Month Period. 47 U.S.C. §
14   227(c) provides that any “person who has received more than one telephone call
15   within any 12-month period by or on behalf of the same entity in violation of the
16   regulations prescribed under this subsection may” bring a private action based on
17   a violation of said regulations, which were promulgated to protect telephone
18   subscribers’ privacy rights to avoid receiving telephone solicitations to which they
19   object.
20         19.     Calls to Phones on the Do Not Call List. The TCPA’s implementing
21   regulation—47 C.F.R. § 64.1200(c)—provides that “[n]o person or entity shall
22   initiate any telephone solicitation” to “[a] residential telephone subscriber who
23   has registered his or her telephone number on the national do-not-call registry of
24   persons who do not wish to receive telephone solicitations that is maintained by
25   the federal government.” See 47 C.F.R. § 64.1200(c).
26         20.     Including Wireless Lines on the Do Not Call List. Owners of
27   wireless telephone numbers (aka mobile or cellular phones) receive the same
28   protections from the Do Not Call provision as owners or subscribers of wireline
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 1   (“landline”) phone numbers. 47 C.F.R. § 64.1200(e), provides that 47 C.F.R. §§
 2   64.1200(c) and (d) “are applicable to any person or entity making telephone
 3   solicitations or telemarketing calls to wireless telephone numbers to the extent
 4   described in the Commission’s Report and Order, CG Docket No. 02-278, FCC
 5   03-153, ‘Rules and Regulations Implementing the Telephone Consumer
 6   Protection Act of 1991,’” which the Report and Order, in turn, provides as
 7   follows:
 8                 The Commission’s rules provide that companies making
                   telephone solicitations to residential telephone subscribers
 9
                   must comply with time of day restrictions and must
10                 institute procedures for maintaining do-not-call lists. For
                   the reasons described above, we conclude that these rules
11
                   apply to calls made to wireless telephone numbers. We
12                 believe that wireless subscribers should be afforded the
13                 same protections as wireline subscribers.

14         21.     The Affirmative Defense of Prior Express Consent. The Ninth Circuit
15   has defined “express consent” to mean “clearly and unmistakably stated.”
16   Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 955 (9th Cir. 2009). “Prior
17   express consent is an affirmative defense for which the defendant bears the burden
18   of proof.” See Grant v. Capital Management Services, L.P., No. 11-56200, 2011
19   WL 3874877, at *1, n.1. (9th Cir. Sept. 2, 2011) (“express consent is not an
20   element of a TCPA plaintiff’s prima facie case, but rather is an affirmative defense
21   for which the defendant bears the burden of proof”); see also Robbins v. Coca-Cola
22   Company, No. 13-cv-132, 2013 WL 2252646, at *2 (S.D. Cal. May 22, 2013).
23         22.     Text Messages Can Be in Violation of the Do Not Call Provisions of
24   the TCPA. Under established Ninth Circuit precedent, text messages are
25   considered calls within the TCPA’s protection. See Satterfield, 569 F.3d at 952-
26   954 (holding that “a text message is a ‘call’ within the meaning of the TCPA.”
27   ///
28   ///
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 1   V.    STANDING
 2         23.     Plaintiff has standing to bring this suit on behalf of herself and the
 3   members of the class under Article III of the United States Constitution because
 4   Plaintiff’s claims state: (a) a valid injury in fact; (b) an injury which is traceable
 5   to the conduct of Defendant; and (c) is likely to be redressed by a favorable
 6   judicial decision. See Spokeo v. Robins, 136 S. Ct. 1540, 1547 (2016); Robins v.
 7   Spokeo, 867 F.3d 1108 (9th Cir. 2017) (cert. denied. 2018 WL 491554 (Jan. 22
 8   2018); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992); and Chen v.
 9   Allstate Inc. Co., 819 F.3d 1136 (9th Cir. 2016).
10         A.      INJURY IN FACT
11         24.     A Plaintiff’s injury must be both “concrete” and “particularized” in
12   order to satisfy the requirements of Article III of the Constitution. Id.
13         25.     For an injury to be concrete it must be a de facto injury, meaning it
14   actually exists. In the present case, Plaintiff took the affirmative step of enrolling
15   herself on the National Do-Not-Call Registry for the purpose of preventing
16   marketing calls and text messages to her telephones. Such telemarketing calls and
17   text messages are a nuisance, an invasion of privacy, and an expense to Plaintiff.
18   See Soppet v. enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
19   All three of these injuries are present in this case. See also Chen, 819 F.3d 1136.
20         26.     Furthermore, the Third Circuit recently stated, Congress found that
21   “[u]nsolicited telemarketing phone calls or text messages, by their nature, invade
22   the privacy and disturb the solitude of their recipients,” (Van Patten v. Vertical
23   Fitness Group, LLC, 847 F.3d 1037, 1043 (9th Cir. 2017)), and sought to protect
24   the same interests implicated in the traditional common law cause of action. Put
25   differently, Congress was not inventing a new theory of injury when it enacted the
26   TCPA. Rather, it elevated a harm that, while “previously inadequate in law,” was
27   of the same character of previously existing “legally cognizable injuries.” Spokeo,
28   136 S.Ct. at 1549. Spokeo addressed, and approved, such a choice by Congress.
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 1   Susinno v. Work Out World Inc., No. 16-3277, 2017 WL 2925432, at *4 (3d Cir.
 2   July 10, 2017).
 3          27.     For an injury to be particularized means that the injury must affect
 4   the plaintiff in a personal and individual way. See Spokeo, 136 S.Ct. at 1548. In
 5   the instant case, Defendant caused text messages to be sent to Plaintiff’s phone. It
 6   was Plaintiff’s personal privacy and peace that Defendant invaded by sending text
 7   messages to her phone. Furthermore, Plaintiff is the person who pays for the
 8   phone, and is the regular carrier and user of the phone. All of these injuries are
 9   particular to Plaintiff.
10          B.      TRACEABLE TO THE CONDUCT OF DEFENDANT
11          28.     Plaintiff must allege at the pleading stage of the case facts to show
12   that her injury is traceable to the conduct of Defendant. In this case, Plaintiff
13   satisfies this requirement by alleging that Defendant, and/or agent of Defendant
14   on behalf of Defendant, sent unlawful text messages to Plaintiff’s phone.
15          C.      INJURY LIKELY TO BE REDRESSED BY A FAVORABLE JUDICIAL
16                  OPINION
17          29.     The third prong to establish standing at the pleadings phase requires
18   Plaintiff to allege facts to show that the injury is likely to be redressed by a
19   favorable judicial opinion. In the present case, Plaintiff’s Prayers for Relief
20   include a request for damages for each text message sent by Defendant, as
21   authorized by statute in 47 U.S.C. §§ 227, et seq. The statutory damages were set
22   by Congress and specifically redress the financial damages suffered by Plaintiff
23   and the members of the putative class. Furthermore, Plaintiff’s Prayers for Relief
24   request injunctive relief to restrain Defendant from the alleged abusive practices
25   in the future. The award of monetary damages and the order for injunctive relief
26   redress the injuries of the past, and prevent further injury in the future.
27   ///
28   ///
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  1         30.     Because all standing requirements of Article III of the U.S.
  2   Constitution have been met, as laid out in Spokeo, Plaintiff has standing to sue
  3   Defendant on the stated claims.
  4   VI.   ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
  5                                 (AGAINST DEFENDANT)
  6         A.      FACTUAL ALLEGATIONS
  7         31.     In or around January 2020, Defendant contacted Plaintiff on her
  8   cellular telephone at (602) 403-****, in an attempt to solicit customers to
  9   purchase CBD oils and products. The messages came from (949) 636-2239 and
 10   (714) 925-9882. Defendant is known to use both numbers.
 11         32.     Defendant continued to send multiple messages to Plaintiff without
 12   her consent or permission.
 13         33.     Defendant used an “automated telephone dialing system,” as defined
 14   by 47 U.S.C. § 227(a)(1) to send text messages to Plaintiff.
 15         34.     Plaintiff is informed and believes that the equipment used by
 16   Defendant to send the subject messages to Plaintiff has the capacity to: (1) store
 17   or produce numbers to be contacted using a random or sequential number
 18   generator; and (2) dial those numbers. Such capacity is evidenced by the fact that
 19   the subject messages appear scripted and generic.
 20         35.     Defendant’s message(s) were not for emergency purposes as defined
 21   by 47 U.S.C. § 227(b)(1)(A).
 22         36.     Defendant’s message(s) were sent to telephone numbers assigned to
 23   a cellular telephone service for which Plaintiff incurs a charge for incoming
 24   messages and/or data use pursuant to 47 U.S.C. § 227(b)(1).
 25         37.     Defendant never received Plaintiff’s “prior express consent” to
 26   receive marketing messages using an automated dialing system on her cellular
 27   telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
 28   ///
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  1         B.      CLASS ALLEGATIONS
  2         38.     Plaintiff brings this action pursuant to Federal Rule of Civil
  3   Procedure 23 and/or other applicable law, on behalf of herself and all others
  4   similarly situated, as a member of the proposed class (hereafter "the Class")
  5   defined as follows:
  6                 All persons within the United States who received any text
  7                 messages from Defendant to said person’s cellular
  8                 telephone made through the use of any automatic
  9                 telephone dialing system when such person had not
 10                 previously provided express consent to receiving such
 11                 messages within the four years prior to the filing of this
 12                 Complaint
 13         39.     Plaintiff represents, and is a member of the Class, consisting of All
 14   persons within the United States who received any telephone call from Defendant
 15   to said person’s cellular telephone made through the use of any automatic
 16   telephone dialing system or an artificial or prerecorded voice and such person
 17   had not previously not provided their cellular telephone number to Defendant
 18   within the four years prior to the filing of this Complaint.
 19         40.     Excluded from the Class are governmental entities, Defendant, any
 20   entity in which Defendant has a controlling interest, and Defendant’s fellow
 21   officers, directors, affiliates, legal representatives, employees, co-conspirators,
 22   successors, subsidiaries, and assigns. Also excluded from the Class are any
 23   judges, justices or judicial officers presiding over this matter and the members of
 24   their immediate families and judicial staff.
 25         41.     This action is properly maintainable as a class action. This action
 26   satisfies the numerosity, typicality, adequacy, predominance and superiority
 27   requirements for a class action.
 28   ///
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  1         42.     Numerosity: The proposed Class is so numerous that individual
  2   joinder of all members is impracticable. Due to the nature of the trade and
  3   commerce involved, Plaintiff does not know the number of members in the Class,
  4   but believes the Class members number in the thousands, if not more. Plaintiff
  5   alleges that the Class may be ascertained by the records maintained by
  6   Defendant.
  7         43.     Plaintiff and members of the Class were harmed by the acts of
  8   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
  9   and Class members via their cellular telephones thereby causing Plaintiff and
 10   Class members, without their “ prior express consent,” to incur certain charges or
 11   reduced telephone time for which Plaintiff and Class members had previously
 12   paid by having to retrieve or administer messages left by Defendant, and
 13   invading the privacy of said Plaintiff and Class members.
 14         44.     Common Questions of Law and Fact Predominate: There are
 15   only a few legal and factual issues to determine if there is liability under the
 16   TCPA and for each of those questions of law and fact, common issues to the
 17   Class predominate over any questions that may affect individual Class members,
 18   in that the claims of all Class members for each of the claims herein can be
 19   established with common proof. Common questions of fact and law include, but
 20   are not limited to, the following:
 21                 a.    Whether, within the four years prior to the filing of this
 22                       Complaint, Defendant made any calls or messages (other than
 23                       a call or message made for emergency purposes or made with
 24                       the prior express consent of the called party) to a Class
 25                       member using any automated dialing system or an artificial or
 26                       prerecorded voice to any telephone number assigned to a
 27                       cellular telephone service;
 28   ///
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  1                 b.    Whether Plaintiff and the Class members were damaged
  2                       thereby, and the extent of the statutory damages for each such
  3                       violation; and
  4                 c.    Whether the Defendant should be enjoined from engaging in
  5                       such conduct in the future.
  6         45.     Typicality: Plaintiff’s claims are typical of the claims of members
  7   of the Class, as Plaintiff was subject to the same common course of conduct by
  8   Defendant as all Class members. The injuries to each member of the Class were
  9   caused directly by Defendant’s wrongful conduct as alleged herein.
 10         46.     Adequacy of Representation: Plaintiff will fairly and adequately
 11   represent and protect the interests of the Class. Plaintiff has retained counsel with
 12   substantial experience in handling complex class action litigation. Plaintiff and
 13   her counsel are committed to prosecuting this action vigorously on behalf of the
 14   Class and have financial resources to do so.
 15         47.     Superiority of Class Action: A class action is superior to other
 16   available methods for the fair and efficient adjudication of the present
 17   controversy. Class members have little interest in individually controlling the
 18   prosecution of separate actions because the individual damage claims of each
 19   Class member are not substantial enough to warrant individual filings. In sum,
 20   for many, if not most, Class members, a class action is the only feasible
 21   mechanism that will allow them an opportunity for legal redress and justice.
 22   Plaintiff is unaware of any litigation concerning the present controversy already
 23   commenced by members of the Class. The conduct of this action as a class action
 24   in this forum, with respect to some or all of the issues presented herein, presents
 25   fewer management difficulties, conserves the resources of the parties and of the
 26   court system, and protects the rights of each Class member.
 27         48.     Moreover, individualized litigation would also present the potential
 28   for varying, inconsistent, or incompatible standards of conduct for Defendant,
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  1   and would magnify the delay and expense to all parties and to the court system
  2   resulting from multiple trials of the same factual issues. The adjudication of
  3   individual Class members’ claims would also, as a practical matter, be dispositive
  4   of the interests of other members not parties to the adjudication, and could
  5   substantially impair or impede the ability of other Class members to protect their
  6   interests.
  7          49.     Plaintiff and the members of the Class have suffered and will
  8   continue to suffer harm as a result of Defendant’s unlawful and wrongful
  9   conduct. Defendant has acted, or refused to act, in respects generally applicable
 10   to the Class, thereby making appropriate final and injunctive relief with regard to
 11   the members of the Class as a whole.
 12          C.      INDIVIDUAL LIABILITY UNDER THE TELEPHONE CONSUMER
 13                  PROTECTION ACT
 14          A corporate officer involved in the telemarketing at issue may be
 15   personally liable under the TCPA. See, e.g., Jackson Five Star Catering, Inc. v.
 16   Beaso, et al., Case No. 10-10010, 2013 US. Dis. LEXIS 159985, at *10 (E.D.
 17   Mich. Nov. 8, 2013) (“[M]any courts have held that corporate actors can be
 18   individually liable for violating the TCPA where they had direct, personal
 19   participation in or personally authorized the conduct found to have violated the
 20   statute”) (internal quotation marks omitted); see also Maryland v. Universal
 21   Elections, et. al, 787 F. Supp. 2d 408, 415-16 (D. Md. 2011) (hypothesizing that
 22   “…if an individual acting on behalf of a corporation could avoid individual
 23   liability, the TCPA would lose much of its force”).
 24          Forbush had direct, personal knowledge and participation in sending the
 25   text messages that injured Plaintiff and violated the TCPA. To allow Forbush to
 26   escape individual liability would eviscerate the preventative purposes of the
 27   TCPA. Furthermore, if defendants with personal knowledge can escape
 28   individual liability under the TCPA, nothing will stop defendants from declaring
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  1   bankruptcy or liquidating their operation once injured plaintiffs begin to seek
  2   redress under the TCPA. Therefore, this Court should hold Forbush individually
  3   liable under the TCPA.
  4   VII. CAUSES OF ACTION
  5                             FIRST CAUSE OF ACTION
  6              VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT,
  7                        47 U.S.C. §§ 227, ET SEQ (DO NOT CALL).
  8      (By Plaintiff Individually and on Behalf of the Class Against Defendant)
  9         VII. Plaintiff hereby incorporates by reference and re-alleges each and
 10   every allegation set forth in each and every preceding paragraph as though fully
 11   set forth herein.
 12         VIII. 47 U.S.C. § 227(c) provides that any “person who has received more
 13   than one telephone call within any 12-month period by or on behalf of the same
 14   entity in violation of the regulations prescribed under this subsection” may bring
 15   a private action based on a violation of said regulations, which were promulgated
 16   to protect telephone subscribers’ privacy rights to avoid receiving telephone
 17   solicitations to which they object.
 18         IX.     The TCPA’s implementing regulation—47 C.F.R. § 64.1200(c)—
 19   provides that “[n]o person or entity shall initiate any telephone solicitation” to
 20   “[a] residential telephone subscriber who has registered his or her telephone
 21   number on the national do-not-call registry of persons who do not wish to receive
 22   telephone solicitations that is maintained by the federal government.” See 47
 23   C.F.R. § 64.1200(c).
 24         X.      47 C.F.R. § 64.1200(e), provides that 47 C.F.R. §§ 64.1200(c) and
 25   (d) “are applicable to any person or entity making telephone solicitations or
 26   telemarketing calls to wireless telephone numbers to the extent described in the
 27   Commission’s Report and Order, CG Docket No. 02-278, FCC 03-153, ‘Rules
 28   and Regulations Implementing the Telephone Consumer Protection Act of
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  1   1991,’” which the Report and Order, in turn, provides as follows:
  2                 The Commission’s rules provide that companies making
                    telephone solicitations to residential telephone subscribers
  3
                    must comply with time of day restrictions and must
  4                 institute procedures for maintaining do-not-call lists. For
                    the reasons described above, we conclude that these rules
  5
                    apply to calls made to wireless telephone numbers. We
  6                 believe that wireless subscribers should be afforded the
  7                 same protections as wireline subscribers.

  8         XI.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity
  9   shall initiate any call for telemarketing purposes to a residential telephone
 10   subscriber unless such person or entity has instituted procedures for maintaining a
 11   list of persons who request not to receive telemarketing calls made by or on behalf
 12   of that person or entity. The procedures instituted must meet the following
 13   minimum standards:
 14
 15                 (1) Written policy. Persons or entitles making calls for
                    telemarketing purposes must have a written policy,
 16                 available upon demand, for maintaining a do-not-call list.
 17
                    (2) Training of personnel engaged in telemarketing.
 18                 Personnel engaged in any aspect of telemarketing must be
 19                 informed and trained in the existence and use of the do-
                    not-call list.
 20
 21                 (3) Recording, disclosure of do-not-call requests. If a
                    person or entity making a call for telemarketing purposes
 22                 (or on whose behalf such a call is made) receives a request
 23                 from a residential telephone subscriber not to receive calls
                    from that person or entity, the person or entity must record
 24                 the request and place the subscriber’s name, if provided,
 25                 and telephone number on the do-not-call list at the time the
                    request is made. Persons or entities making calls for
 26                 telemarketing purposes (or on whose behalf such calls are
 27                 made) must honor a residential subscriber’s do-not-call
                    request within a reasonable time from the date such
 28
                  CLASS ACTION COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                   request is made. This period may not exceed thirty days
  1
                   from the date of such request…
  2
                   (4) Identification of sellers and telemarketers. A person or
  3
                   entity making a call for telemarketing purposes must
  4                provide the called party with the name of the individual
  5                caller, the name of the person or entity on whose behalf
                   the call is being made, and a telephone number or address
  6                at which the person or entity may be contacted. The
  7                telephone number provided may not be a 900 number or
                   any other number for which charges exceed local or long
  8                distance transmission charges.
  9
                   (5) Affiliated persons or entities. In the absence of a
 10                specific request by the subscriber to the contrary, a
 11                residential subscriber’s do-not-call request shall apply to
                   the particular business entity making the call (or on whose
 12                behalf a call is made), and will not apply to affiliated
 13                entities unless the consumer reasonably would expect
                   them to be included given the identification of the caller
 14                and the product being advertised.
 15
                   (6) Maintenance of do-not-call lists. A person or entity
 16                making calls for telemarketing purposes must maintain a
 17                record of a consumer’s request not to receive further
                   telemarketing calls. A do-not-call request must be honored
 18                for 5 years from the time the request is made.
 19
            XII. Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing
 20
      to be initiated, telephone solicitations to wireless and residential telephone
 21
      subscribers such as Plaintiff and the putative class members who registered their
 22
      respective telephone numbers on the National Do Not Call Registry, a listing of
 23
      persons who do not wish to receive telephone solicitations that is maintained by
 24
      the federal government. These consumers requested to not receive calls from
 25
      Defendant, as set forth in 47 C.F.R. § 64.1200(d)(3).
 26
      ///
 27
            XIII. Defendant sent more than one unsolicited text message to Plaintiff
 28
                CLASS ACTION COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1   and members of the putative class within a 12-month period without their prior
  2   express consent to send such text messages. Plaintiff and members of the putative
  3   class never provided any form of consent to receive text messages from
  4   Defendant and Defendant did not have a record of consent to place telemarketing
  5   calls or text messages to them and/or Plaintiff and members of the putative class
  6   revoked consent.
  7         XIV. Defendant violated 47 C.F.R. § 64.1200(d) by initiating text
  8   messages for telemarketing purposes to residential and wireless telephone
  9   subscribers, such as Plaintiff and the putative class, without instituting procedures
 10   that comply with the regulatory minimum standards for maintaining a list of
 11   persons who request not to receive telemarketing calls from them.
 12         XV. Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the
 13   putative class received more than one text message in a 12-month period made by
 14   or on behalf of Forbush in violation of 47 C.F.R. § 64.1200, as described above.
 15   As a result of Defendant’s conduct as alleged herein, Plaintiff and the putative
 16   class suffered actual damages and, under section 47 U.S.C. § 227(c), are each
 17   entitled, inter alia, to receive up to $500 in damages for such violations of 47
 18   C.F.R. § 64.1200.
 19         XVI. To the extent Defendant’s misconduct is determined to be willful and
 20   knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount
 21   of statutory damages recoverable by the members of the Class.
 22         XVII. Plaintiff is also entitled to and seeks injunctive relief prohibiting
 23   such conduct in the future.
 24   ///
 25   ///
 26   ///
 27   ///
 28                            SECOND CAUSE OF ACTION
                CLASS ACTION COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                          – 18 –
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  1              VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT,
  2                           47 U.S.C. §§ 227, ET SEQ. (CELL PHONE)
  3         (By Plaintiff Individually and on Behalf of the Class Against Defendant)
  4            XVIII.       Plaintiff hereby incorporates by reference and re-alleges each
  5   and every allegation set forth in each and every preceding paragraph as though
  6   fully set forth herein.
  7            XIX. The foregoing acts and omissions of Defendant constitute numerous
  8   and multiple violations of the TCPA, including but not limited to each and every
  9   one of the above cited provisions of 47 U.S.C. § 227, et seq. and 47 C.F.R. §
 10   64.1200, et seq.
 11            XX. As a result of Defendant’s violations of 47 U.S.C. § 227, et seq., and
 12   47 C.F.R. §64.1200, et seq., Plaintiff is entitled to an award of $500.00 in
 13   statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 14   227(b)(3)(B).
 15            XXI. To the extent Defendant’s misconduct is determined to be willful and
 16   knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount
 17   of statutory damages recoverable by the members of the Class.
 18            XXII. Plaintiff is also entitled to and seeks injunctive relief prohibiting
 19   such conduct in the future.
 20                                THIRD CAUSE OF ACTION
 21              VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT,
 22                           47 C.F.R. § 64.1200(D) (DO NOT CALL)
 23         (By Plaintiff Individually and on Behalf of the Class Against Defendant)
 24            XXIII.       Plaintiff hereby incorporates by reference and re-alleges each
 25   and every allegation set forth in each and every preceding paragraph as though
 26   fully set forth herein.
 27   ///
 28            XXIV.        Defendant violated 47 C.F.R. § 64.1200(d) by initiating calls
                  CLASS ACTION COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                            – 19 –
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  1   and sending text messages for telemarketing purposes to residential and wireless
  2   telephone subscribers, such as Plaintiff and the putative class, without instituting
  3   procedures that comply with the regulatory minimum standards for maintaining a
  4   list of persons who request not to receive telemarketing calls from them.
  5            XXV. These consumers, already on the Do Not Call Registry, like Plaintiff,
  6   requested to not receive calls from Defendant, as set forth in 47 C.F.R. §
  7   64.1200(d)(3).
  8            XXVI.       Nevertheless, Defendant and his agents refused to record the
  9   requests, including Plaintiff’s, to stop their telemarketing calls and text messages.
 10   Any prior express consent was revoked (if it ever existed).
 11            XXVII.      Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and
 12   the putative class members received more than one telephone call and/or text
 13   message in a 12-month period made by or on behalf of Defendant in violation of
 14   47 C.F.R. § 64.1200(d), after they had requested to not be called or messaged
 15   again, as described above. As a result of Defendant’s conduct as alleged herein,
 16   Plaintiff and the putative class suffered actual damages and, under section 47
 17   U.S.C. § 227(c), are each entitled, inter alia, to receive up to $500 in damages for
 18   such violations of 47 C.F.R. § 64.1200.
 19            XXVIII.     To the extent Defendant’s misconduct is determined to be
 20   willful and knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble
 21   the amount of statutory damages recoverable by the members of the putative
 22   class.
 23   ///
 24   ///
 25   ///
 26   ///
 27                                 PRAYER FOR RELIEF
 28            WHEREFORE, Plaintiff requests of this Court the following relief:
                  CLASS ACTION COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                            – 20 –
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  1        1.      An order certifying this action as a class action and opposing
  2   Plaintiff and her counsel to represent the Class;
  3        2.      An award of actual and statutory damages for each and every
  4   negligent violation to each member of the Class pursuant to 47 U.S.C. §
  5   227(b)(3)(B);
  6        3.      An award of actual and statutory damages for each and every
  7   knowing and/or willful violation to each member of the Class pursuant to 47
  8   U.S.C § 227(b)(3)(B);
  9        4.      An injunction requiring Defendant and Defendant’s agents to cease
 10   all unsolicited telephone calling and messaging activities, and otherwise
 11   protecting the interests of the Class, pursuant to 47 U.S.C. § 227(b)(3)(A);
 12        5.      Pre-judgment and post-judgment interest on monetary relief;
 13        6.      An award of reasonable attorneys’ fees and costs; and
 14        7.      All other and further relief as the Court deems necessary, just, and
 15   proper.
 16
       Dated: October 27, 2020                            KRISTENSEN LLP
 17
 18                                                       /s/ John P. Kristensen
                                                          John P. Kristensen
 19                                                       Jesenia A. Martinez
 20                                                       Attorneys for Plaintiff
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 28
                CLASS ACTION COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                          – 21 –
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  1                            DEMAND FOR JURY TRIAL
  2         Plaintiff hereby demands a trial by jury for all such triable claims.
  3
       Dated: October 27, 2020                         KRISTENSEN LLP
  4
  5                                                    /s/ John P. Kristensen
                                                       John P. Kristensen
  6                                                    Jesenia A. Martinez
  7                                                    Attorneys for Plaintiff
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               CLASS ACTION COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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